 Case 2:15-cv-02557-JDT-dkv Document 14 Filed 06/01/16 Page 1 of 2              PageID 53



                        United States District Court
                        WESTERN DISTRICT OF TENNESSEE
                               Eastern Division


                           JUDGMENT IN A CIVIL CASE




MARCHELLO CHANTEZ MOORE,
Plaintiff(s),
                                                CASE NUMBER: 1:15-cv-2555-JDT-cgc
v.

ANTONIO TREVIONO GRAY, ET AL.,
Defendant(s).


MARCHELLO CHANTEZ MOORE,
Plaintiff(s),

v.                                              CASE NUMBER: 1:15-CV-2556-JDT-cgc

SHEILA ALFORD, ET AL.,


MARCHELLO CHANTEZ MOORE,
Plaintiff(s),

v.                                              CASE NUMBER 1:15-CV-2557-JDT-cgc

DARRIN HOLLINS, ET AL.,



Decision by Court. This action came before the Court and the issues have been
considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that in accordance with the Order entered in
the above-styled matter on May 31, 2016, the above actions are consolidated; the
orders assessing filing fee in case numbers 15-2556 and 15-2557 are set aside.
Further, the Court DISMISSES the complaint for failure to state a claim on which relief
may be granted, pursuant to 28 U.S.C §§1915 (e)(2)(B)(ii)-(iii) and 1915A(b)(1)-(2). It is
further CERTIFIED, pursuant to 28 U.S.C §1915(a)(3) and Federal Rules of Appellate
Procedure 24(a), that any appeal in this matter by Plaintiff would not be in taken in good
faith. Plaintiff is instructed that if he wished to take advantage of the installment
procedures for paying the appellate filing fee, he must comply with the procedures set
out in McGore and §1915(a)(2) by filing an updated in forma pauperis affidavit and a
current, certified copy of his inmate trust account for the six months immediately
 Case 2:15-cv-02557-JDT-dkv Document 14 Filed 06/01/16 Page 2 of 2                    PageID 54
preceding the filing of the notice of appeal. For analysis under 28 U.S.C. §1915(g) of
future filings, if any, by plaintiff, this is the first dismissal of one of his cases as frivolous
or for failure to state a claim. Because Moore stated these cases were not intended to
be filed separately, the Court will access only one strike instead of three separate strikes.




APPROVED:
                                                           s/James D. Todd
                                                           JAMES D. TODD
                                                           U. S. DISTRICT JUDGE



THOMAS M. GOULD
CLERK

BY: s/Sonya Pettigrew
DEPUTY CLERK
